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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              ABERDEEN DIVISION

JOSHUA HOPKINS                                                                      PLAINTIFF

V.                                                                  NO. 1:21-CV-189-DMB-RP

CARLOCK NISSAN OF TUPELO,
INC.                                                                              DEFENDANT


                                            ORDER

       On June 6, 2022, Joshua Hopkins filed a second amended complaint against his former

employer, Carlock Nissan of Tupelo, Inc., and its general sales manager, Kent Graham. Doc. #47.

Hopkins alleges that Graham intentionally interfered with his employment and that both Carlock

Nissan and Graham “are liable to [him] for associational race discrimination under 42 U.S.C. §

1981.” Id. at 4. The second amended complaint also contained a Title VII retaliation claim against

Carlock Nissan for terminating Hopkins for reporting “what he reasonably believed, in good faith,

to be sexual harassment;” however, on Carlock Nissan’s motion, the Court dismissed the

retaliation claim with prejudice on November 18, 2022. Id.; Doc. #81.

       In anticipation of trial, Hopkins filed a motion in limine seeking an order prohibiting the

defendants

       from mentioning to the jury, in opening or closing statements, at any time during
       trial, or to solicit a response from a witness that could mention: a) [he] has been
       convicted of one crime and pled guilty to two (2) other crimes, and has served time
       in prison; and b) [he] was arrested for domestic violence, but the charges were
       dropped.

Doc. #82. The defendants did not respond to the motion. Accordingly, the motion in limine [82]

is GRANTED as unopposed. See L.U. Civ. R. 7(b)(3)(E) (“If a party fails to respond to any

motion, other than a dispositive motion, within the time allotted, the court may grant the motion
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as unopposed.”).

       SO ORDERED, this 3rd day of March, 2023.

                                              /s/Debra M. Brown
                                              UNITED STATES DISTRICT JUDGE




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